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                      UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO


  ST. LUKE’S HEALTH SYSTEM,
  LTD.,                                        Case No. 1:25-cv-00015-BLW
          Plaintiff,
                                               MEMORANDUM DECISION
     v.                                        AND ORDER

  RAÚL LABRADOR, Attorney
  General of the State of Idaho,

             Defendant.


                                 INTRODUCTION

      By design, our national government is a government of limited powers. But

when it acts within the realm of those limited power, the Supremacy Clause makes

clear that the national government is supreme. The Founders correctly perceived

that, for our federal system to work—for fifty states with different cultures and

priorities to nonetheless come together as one nation—Congress must at times

override the states’ dissonant policies. In this, the Supremacy Clause ensures that

the tension between national and state government remains productive rather than

destructive, that our political differences generate a stronger nation rather than

dissolving the country into nothing more than a collection of states. Simply put,

when state law and federal conflict, state law must yield. This case provides an



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example of these principles at work in our federal system.

      One important area that Congress has chosen to regulate is the provision of

emergency medical services. In response to “patient dumping”—a practice of

transferring or turning away patients deemed undesirable—Congress passed the

Emergency Medical Treatment and Labor Act (EMTALA). EMTALA requires

that hospitals receiving Medicare funds provide stabilizing treatment to patients

who arrive with emergency medical conditions. The law ensures that all Americans

in their most vulnerable moments can receive emergency medical care.

      EMTALA is decades old and generally uncontroversial. But in one narrow

and heartbreaking circumstance, EMTALA conflicts with Idaho law. When a

pregnant woman arrives in an emergency room experiencing severe complications,

termination of the pregnancy is occasionally the sole treatment that can stabilize

her. In the worst cases, an abortion is necessary to prevent the woman’s death. In

others, the woman’s life is not at risk, but termination is the only way to prevent

serious harms like kidney failure, stroke, infertility, and a host of other life-altering

impairments. Idaho Code § 18-622 allows abortion to save the woman’s life, but an

abortion to prevent any harm short of death is a felony punishable by two to five

years in prison. In these devasting but fortunately rare situations, Idaho law must

yield to EMTALA’s stabilization mandate.

      The Court first ruled on this issue in August 2022, when the United States


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sought to enjoin Idaho’s abortion ban as it pertained to these emergency abortions.

This time, a hospital system subject to EMTALA has invoked the supremacy of

federal law. The intervening years have only brought into focus the reality of the

conflict. When Idaho’s abortion ban went into full effect for six months in 2024,

St. Luke’s Health System was forced to airlift six pregnant patients with

emergency medical conditions to neighboring states where they could receive the

appropriate care. In contrast, only a single pregnant patient was airlifted in the

entirety of 2023. This sad but illuminating natural experiment shows that Idaho’s

ban on emergency abortions is not compatible with hospitals’ stabilization

obligations under EMTALA.

      St. Luke’s has established that it will likely succeed on the merits and that

the Court should preserve the status quo while the parties litigate this matter. For

the reasons explained in this decision, the Court will therefore grant St. Luke’s

motion for a preliminary injunction. During the pendency of this lawsuit, the

Attorney General will be enjoined from enforcing Idaho Code § 18-622 to the

extent that statute conflicts with EMTALA-mandated care.

                                  BACKGROUND

1. EMTALA and the Defense of Life Act

      This case concerns the conflict between Idaho’s Defense of Life Act and the

federal Emergency Medical Treatment and Labor Act (EMTALA). Idaho’s


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Defense of Life Act criminalizes abortion in nearly all circumstances. When a

pregnant woman experiences a medical emergency, a health care provider may

perform an abortion 1 only when “necessary to prevent the death of the pregnant

woman.” Idaho Code § 18-622(2)(a)(i). An abortion performed to prevent any

harm short of death remains a felony punishable by two to five years in prison and

the revocation of the health care provider’s professional license. Id. § 18-622(1).

       This criminalization of emergency abortions creates a problem for hospital

systems, which are mandated by EMTALA to provide stabilizing care to any

patient with an “emergency medical condition.” 42 U.S.C. § 1395dd(b).

Specifically, EMTALA requires hospital emergency departments to provide “such

medical treatment of the condition as may be necessary to assure, within

reasonable medical probability, that no material deterioration of the condition is

likely to result from or occur during the transfer of the individual from a facility.”

Id. § 1395dd(e). This applies to any patient experiencing

       (A) a medical condition manifesting itself by acute symptoms of
           sufficient severity (including severe pain) such that the absence of
           immediate medical attention could reasonably be expected to result
           in-




1
  Idaho currently defines abortion as “the use of any means to intentionally terminate the
clinically diagnosable pregnancy of a woman with knowledge that the termination by those
means will, with reasonable likelihood, cause the death of the unborn child,” except for ectopic
or molar pregnancies or the “removal of a dead unborn child.” Idaho Code § 18-604(1).


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             (i)     placing the health of the individual (or, with respect to a
                     pregnant woman, the health of the woman or her unborn
                     child) in serious jeopardy,

             (ii)    serious impairment to bodily functions, or

             (iii)   serious dysfunction of any bodily organ or part;

Id. The hospital may transfer the patient to another facility in lieu of stabilization

only when the benefits of the transfer outweigh the risks. Id. § 1395dd(c).

      EMTALA applies to every hospital that has an emergency department and

participates in Medicare. See id. § 1395cc(a)(1)(I). For hospitals that fail to comply

with the statute, EMTALA imposes civil penalties and creates a private right of

action for any individual who suffers harm. Id. § 1395dd(d). Individual physicians

responsible for the examination, treatment, or transfer of patients also face civil

penalties.

2. United States v. Idaho

      This Court addressed many of the issues presented here when it granted a

preliminary injunction in United States v. Idaho, 623 F. Supp. 3d 1096 (D. Idaho

2022). In that case, the Court recognized that in certain situations a hospital could

comply with Idaho Code § 18-622 only by violating EMTALA. The Supremacy

Clause of the United States Constitution resolves such conflicts by providing that

federal law preempts contradictory state law. Accordingly, the Court enjoined the

State of Idaho from enforcing the Defense of Life Act in the very limited


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circumstances where it contradicts EMTALA’s requirements. The Court later

denied the State’s motion for reconsideration following an Idaho Supreme Court

decision that clarified the scope of the abortion ban. 2 See United States v. Idaho,

No. 1:22-cv-00329, 2023 WL 3284977 (D. Idaho May 4, 2023).

       The State appealed. The Ninth Circuit initially stayed the injunction but

vacated the stay after ordering a rehearing en banc. United States v. Idaho, 82 F.4th

1296 (9th Cir. 2023) (Mem.). Before the Ninth Circuit could rehear the case,

however, the Supreme Court granted a writ of certiorari before judgment and

stayed the injunction. Idaho v. United States, 144 S. Ct. 541 (2024) (Mem.). Six

months later, the Supreme Court decided it had improvidently granted certiorari

and vacated the stay. Moyle v. United States, 144 S. Ct. 2015, 2015 (2024) (per

curiam). The case returned to the Ninth Circuit, where it remained pending until

the United States filed a stipulation to dismiss the case on March 5, 2025.




2
  In August 2022, when this Court first imposed the injunction, Idaho’s abortion criminalization
statute was even stricter than it is now. The law did not expressly exclude ectopic pregnancies,
and the exception for the life of the mother was an affirmative defense rather than an exception
to liability. In Planned Parenthood of the Great Northwest v. State, the Idaho Supreme Court
determined that the termination of an ectopic pregnancy did not constitute an abortion under the
statute and that the affirmative defense imposed a subjective rather than objective standard. 522
P.3d 1132, 1202-04 (Idaho 2023). This Court subsequently held that neither change alleviated
the conflict between EMTALA and Idaho Code 18-622. Since then, the Legislature has amended
the statute to exclude ectopic pregnancies and treat a threat to the life of the mother as an
exception to liability.

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3. St. Luke’s Lawsuit

        St. Luke’s filed this lawsuit in mid-January 2025, as the transition of

presidential administrations loomed. Although the United States v. Idaho

injunction was in place when it filed, St. Luke’s was concerned that the United

States would dismiss the suit. Those concerns were borne out a few weeks later:

On March 4, 2025, St. Luke’s informed the Court that the United States intended to

dismiss its complaint in United States v. Idaho the next day. St. Luke’s moved for

an immediate TRO to avoid a gap in protections while the Court considered the

merits of a preliminary injunction. After receiving expedited briefing, the Court

imposed a TRO with protections identical to the United States v. Idaho injunction.

The Attorney General then filed a motion to modify the TRO to apply only to St.

Luke’s—rather than all hospitals and medical providers—and to narrow its

substantive scope. As noted above, the Court heard oral argument on March 5,

2025.

4. Findings of Fact 3

        St. Luke’s operates eight of the 39 hospitals in Idaho that receive Medicare



3
 These findings are relevant to the preliminary injunction motion. In considering the Rule 12(b)
motions, the Court relied on facts alleged in the complaint. The parties did not request an
evidentiary hearing, so the Court did not hear testimony at the hearing—just argument. The
Court will therefore make its factual findings based on the evidence in the record here and in
United States v. Idaho, 22-cv-329, recognizing that such findings are not final. See Univ. of
Texas v. Camenisch, 451 U.S. 390, 395 (1981); 18B Wright, Miller, & Cooper, Federal Practice
& Procedure § 4478.1 (3d ed.).

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funding and provide emergency services. Idaho has around 22,000 births per year,

and in recent years, St. Lukes has delivered around forty percent of those babies.

Given that volume, it’s not surprising that St. Luke’s cares for pregnant patients

who arrive at the emergency room with medical conditions that threaten their

health, but not their lives. Occasionally—and devastatingly—these patients can be

stabilized only through the termination of their pregnancies. See Seyb Supp. Dec.

¶¶ 5, 9-14, Dkt. 2-2. Stated more precisely, using EMTALA’s defined terms, the

record shows that some patients experience serious (but non-life-threatening)

pregnancy-related complications that qualify as an “emergency medical condition”

where abortion is the only treatment that will “stabilize” them. See, e.g., Seyb

Supp. Dec. ¶ 5, Dkt. 2-2; Corrigan Dec. ¶ 29, US v. Idaho Dkt. 17-6. Yet under

Idaho law, the woman experiencing these conditions must remain pregnant and

endure these harms because her life is not itself at stake.

      Examples of these types of conditions include: (1) preterm premature

rupture of the membranes (PPROM), which can result in infection, sepsis, or organ

failure; (2) preeclampsia, which can result in the onset of seizures and hypoxic

brain injury; (3) placental abruption, which can result in uncontrollable bleeding or

organ dysfunction; and (4) uterine hemorrhage, which can require a hysterectomy

or result in kidney failure, requiring lifelong dialysis. Idaho physicians have

submitted declarations describing specific patients who presented with such


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conditions. 4 Some of these declarations describe patients who were treated before

Idaho’s Defense of Life Act took effect.5 Another describes patients treated during

the few months when this Court’s injunction was stayed. See Seyb Supp. Dec. ¶¶ 9-

17, Dkt. 2-2.

       The injunction was stayed for approximately two weeks in late 2023 and for

approximately six months between January and June 2024. During that brief

period—when medical providers faced prosecution for performing emergency

abortions—St. Luke’s had to airlift six pregnant patients in medical crisis to other

states to receive appropriate care. Id. ¶¶ 8-15. In 2023, by contrast, only a single

patient was airlifted the entire year. Id. ¶ 7. Five of the six women airlifted to other

facilities presented with PPROM, and a sixth presented with pre-eclampsia. In each




4
  Many of the referenced declarations are on file in United States v. Idaho, No. 22-cv-329. In lieu
of refiling these already-submitted declarations, St. Luke’s asked the Court to consider the record
in United States v. Idaho in resolving this motion. See Mtn. Mem., Dkt. 2-1, at 12 n.3. The Court
will grant that request.
5
  See Corrigan Dec. ¶¶ 8-30, US v. Idaho Dkt. 17-6 (describing three patients who required
abortions after experiencing, respectively, (1) severe infection due to premature rupture of the
membranes; (2) placental abruption which other medications and blood products failed to
mitigate; and (3) preeclampsia with pleural effusions and high blood pressure); Cooper Dec.
¶¶ 6-12, US v. Idaho Dkt. 17-7 (describing three patients who required abortions after
experiencing, respectively, (1) preeclampsia with severe features, (2) HELLP syndrome, and (3)
lab abnormalities consistent with a diagnosis of HELLP syndrome); Seyb Dec. ¶¶ 7-13, US v.
Idaho Dkt. 17-8 (describing three patients who required abortions after experiencing,
respectively, (1) a septic abortion, (2) preeclampsia with severe features, and (3) heavy vaginal
bleeding); see also Fleisher Dec. ¶¶ 12-21, US v. Idaho Dkt. 17-3; Seyb Dec. ¶¶ 4-13, US v.
Idaho Dkt. 17-8.


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case, continuing the pregnancy likely would have resulted in serious and

permanent physical harm. Id. ¶¶ 8-14. But because physicians could not conclude

in good faith that abortion was necessary to prevent the women’s death, St. Luke’s

could not provide stabilizing medical treatment.6

        Dr. Stacy Seyb succinctly explains the quandary Idaho physicians find

themselves in when attempting to simultaneously comply with Idaho law and

EMTALA during these situations:

        Fundamentally, each of these conditions [pre-eclampsia, PPROM,
        placential abruption]—and many more pregnancy complications—
        poses serious risks to pregnant patients, and termination is very often
        the only treatment available to address these risks and stabilize the
        patient. In some cases, these conditions can and do cause death. But
        sometimes, a physician may conclude that although there is not a high
        probability of the pregnant patient’s death, the patient may experience
        impairment or severe dysfunction of bodily organs, including losing
        her reproductive capacity, absent termination of her pregnancy. And
        often, it will simply not be possible for a physician to determine
        whether termination is necessary to prevent her death as opposed to
        some severe harm to the patient short of death.

Seyb Supp. Dec. ¶ 5, Dkt. 2-2.
                                       ANALYSIS

    1. Motion to Dismiss

        Before considering the merits of St. Luke’s Motion for Preliminary




6
 Indeed, one of the airlifted patients, diagnosed with PPROM while twenty-two weeks pregnant,
eventually delivered twins. Suppl. Dec. of Stacy Seyb ¶ 14, Dkt. 2-2. That patient’s case—and
her happy outcome—underscores the essential incompatibility between the absolutes of Idaho’s
abortion ban and the ambiguities that define emergency medical treatment decisions.

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Injunction, the Court must make a threshold determination of justiciability. The

Attorney General raises three issues here: (1) lack of Article III standing, (2)

prudential unripeness, and (3) sovereign immunity. The Attorney General also

argues that St. Luke’s lacks an equitable cause of action under EMTALA. The

Court concludes that each of these challenges fails.

      A. Standing

      The doctrine of standing stems from the principle that the federal judiciary

has authority to decide only “actual cases or controversies.” Simon v. Eastern Ky.

Welfare Rights Org., 426 U.S. 26, 37 (1976). The party invoking federal

jurisdiction has the burden of establishing the three elements of standing: “(1) an

‘injury in fact,’ (2) a sufficient ‘causal connection between the injury and the

conduct complained of,’ and (3) a ‘likelihood’ that the injury ‘will be redressed by

a favorable decision.’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-58

(2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). The

present dispute centers on the injury-in-fact requirement for a pre-enforcement

plaintiff. The Attorney General also contends that he is an improper defendant for

the injunction as it pertains to professional licensure penalties and that St. Luke’s

lacks third-party standing to sue on behalf of its providers.

             i. Injury in Fact

      St. Luke’s brings a pre-enforcement challenge to Idaho’s prohibition of


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emergency abortions. A pre-enforcement plaintiff has, by definition, not yet

experienced direct harm from the enforcement of the challenged statute. Peace

Ranch LLC v. Bonta, 93 F.4th 482, 487 (9th Cir. 2024). Nonetheless, the injury-in-

fact requirement does not mean that a plaintiff must suffer “an actual arrest,

prosecution, or other enforcement action.” Driehaus, 573 U.S. at 158. The

possibility of enforcement can in itself constitute an injury, creating a dilemma for

plaintiffs described variously as being forced to choose between “the rock and the

hard place, the Scylla and the Charybdis, and the choice to comply or bet the

farm.” Peace Ranch, 93 F.4th at 487 (quotations and alterations omitted). Thus, a

plaintiff can allege an injury in fact when the circumstances “render the threatened

enforcement sufficiently imminent.” Driehaus, 573 U.S. at 159.

      The Ninth Circuit utilizes a three-part test, adopted from Susan B. Anthony

List v. Driehaus, for pre-enforcement standing. First, the plaintiff must allege “an

intention to engage in a course of conduct arguably affected with a constitutional

interest.” Peace Ranch, 93 F.4th at 487 (quoting Driehaus, 573 U.S. at 161).

Second, “[t]he intended future conduct must be ‘arguably proscribed by the

challenged statute.’” Id. (quoting Driehaus, 573 U.S. at 162) (alterations omitted).

Third, “the threat of future enforcement must be ‘substantial.’” Id. (quoting

Driehaus, 573 U.S. at 164). St. Luke’s challenge to Idaho’s ban of emergency

abortion meets each of these requirements.


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      First, the conduct at issue is “arguably affected with a constitutional interest”

by the Supremacy Clause. St. Luke’s alleges that Attorney General intends to

prosecute emergency-room physicians for complying with their obligations under

EMTALA to provide stabilizing treatment to pregnant patients. To the extent that

Section 18-622 conflicts with EMTALA—an issue taken up below on the merits—

the state law is preempted due to the Supremacy Clause. And because St. Luke’s

compliance with EMTALA in these circumstances implicates the Supremacy

Clause, that conduct carries a constitutional interest.

      The role of the Supremacy Clause here warrants some further explanation. It

is true that “the Supremacy Clause is not the ‘source of any federal rights,’ and

certainly does not create a cause of action.” Armstrong v. Exceptional Child Ctr.,

Inc., 575 U.S. 320, 324-25 (2015) (quoting Golden State Transit Corp. v. Los

Angeles, 493 U.S. 103, 107 (1989)). But the present issue is whether the

Supremacy Clause renders St. Luke’s conduct “affected with a constitutional

interest”—which is a different matter entirely. This Court rejects the recent

suggestion by a district court in North Dakota that the statute at issue in a pre-

enforcement challenge “must ostensibly prohibit the exercise of a specific

constitutional right.” See Splonskowski v. White, 714 F. Supp. 3d 1099, 1104

(D.N.D. 2024). Not only is such a requirement far narrower than the test articulated

in Driehaus, but it runs contrary to Ninth Circuit caselaw recognizing pre-


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enforcement standing in preemption cases even when a plaintiff’s intended conduct

is not directly constitutionally protected. See Valle del Sol Inc. v. Whiting, 732 F.3d

1006, 1015 (9th Cir. 2013) (preemption challenge to immigration law); Cal.

Trucking Ass’n v. Bonta, 996 F.3d 644, 652-53 (9th Cir. 2021) (preemption

challenge to employee classification law); see also Consumer Data Industry Ass’n

v. King, 678 F.3d 898, 902 (10th Cir. 2012) (plaintiffs met injury-in-fact

requirement for preemption challenge to state credit reporting law).

      In short, the Supremacy Clause does not create a constitutional right, but it

does “affect[] with a constitutional interest” St. Luke’s efforts to comply with

EMTALA. This is because the Supremacy Clause resolves a constitutional tension

between the medical treatment which St. Luke’s must provide its pregnant patients

under federal law and that which it can legally provide under state law. For

purposes of standing, this is enough.

       Second, St. Luke’s intended conduct—the termination of pregnancies as

stabilizing treatment during medical emergencies—is “arguably proscribed by”

Section 18-622. The Court will take up this statutory conflict further when

discussing the merits of the preliminary injunction, but the Attorney General does

not dispute that St. Luke’s meets this requirement.

      Third, there is a substantial threat of enforcement. The United States’

dismissal of United States v. Idaho has dissolved that injunction, meaning that St.


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Luke’s will be immediately subject to the full penalties of Section 18-622 in the

absence of action here. And, contrary to the Attorney General’s arguments, the

United States’ decision to dismiss its complaint did not end the threat of injury to

St. Luke’s. Although the United States may, like any party, change its

interpretation of the relevant law, it cannot unilaterally alter the meaning of a

statute enacted by Congress. See Wyeth v. Levine, 555 U.S. 555, 565 (2009) (“The

purpose of Congress is the ultimate touchstone in every pre-emption case.”). St.

Luke’s would still face the possibility of lawsuits by private litigants harmed by

violations of EMTALA—a risk highlighted by the airlifts of six pregnant patients

during the six-month stay. And of course, the United States could easily change its

position on EMTALA again. The discretion inherent in the executive’s law

enforcement authority underscores St. Luke’s vulnerability in the absence of an

injunction.

      Even if the United States had not dismissed the case, a preliminary

injunction in a third party’s lawsuit does not end the threat to others who intend to

engage in the proscribed conduct. A preliminary injunction is a form of provisional

relief designed only “to balance the equities as the litigation moves forward.”

Trump v. Int’l Refugee Assistance Project, 582 U. S. 571, 580 (2017) (per curiam).

Due to the temporary nature of the remedy, the Supreme Court has held that a

preliminary injunction does not alleviate the threat of injury and therefore does not


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deprive a plaintiff of standing. Nielsen v. Preap, 586 U.S. 392, 403 (2019)

(“Unless that preliminary injunction was made permanent and was not disturbed on

appeal, these individuals faced the threat of [injury].”); see O.A. v. Trump, 404 F.

Supp. 3d 109, 145-46 (D.D.C. 2019) (“Preliminary injunctive relief does not defeat

Article III standing.”). Indeed, the periodic stays of the injunction in United States

v. Idaho illustrate the precariousness of a third party’s reliance on another’s

lawsuit.

      Accordingly, St. Luke’s has established pre-enforcement standing to

challenge Idaho Code § 18-622 to the extent that the law conflicts with EMTALA.

             ii. Licensure Penalties

      The Court now turns to a more limited question of standing: whether the

Attorney General is the correct defendant for an injunction against Section 18-

622’s licensure penalties. The Attorney General argues that this aspect of the

injunction cannot run against him because he does not enforce the professional

boards’ rules and laws. This objection overlooks the fact that licensing penalties

for violating the abortion ban are available only after a criminal conviction—

indeed, such a conviction appears to be a mandatory trigger. See § 18-622(1)

(stating that a health care professional’s license “shall” be suspended or revoked).

      To satisfy standing requirements, an alleged injury must be “fairly traceable”

to the challenged criminal statute and “likely to be redressed by a favorable


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decision.” Matsumoto v. Labrador, 122 F.4th 787, 799 (9th Cir. 2024) (citing

Lujan, 504 U.S. at 560). “An injury is fairly traceable to a challenged action as

long as the links in the proffered chain of causation are not hypothetical or tenuous

and remain plausible.” Id. (quoting Ass'n of Irritated Residents v. EPA, 10 F.4th

937, 943 (9th Cir. 2021)). The Attorney General’s direct causal role in effecting

the licensure penalties easily meets this requirement. As a result, he is an

appropriate defendant for this aspect of the injunction.

             iii. Third-Party Standing

      The final question of standing concerns St. Luke’s ability to assert claims for

its providers. The Attorney General reads the Complaint as bringing claims on

behalf of individual medical providers, and he accordingly argues that St. Luke’s

must meet the elements of third-party standing. The Court disagrees. St. Luke’s has

clearly brought this claim on behalf of itself. The Complaint includes factual

allegations about the medical providers because St. Luke’s is a hospital system,

and the injury it faces from the enforcement of Section 18-622 derives naturally

from the conduct of the professionals who work there. St. Luke’s own financial

and ethical interests are clearly impacted if its medical providers face

imprisonment and loss of licensure for complying with federal law. But this does

not mean that St. Luke’s seeks to assert the rights of its providers, and nothing in

the Complaint suggests that this is the case. Because St. Luke’s seeks to vindicate


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its own rights, third-party standing is a non-issue.

      B. Prudential Ripeness

      The Attorney General next challenges justiciability by arguing that the

matter is not ripe.

      After a plaintiff establishes Article III standing, a court may nonetheless

decline to exercise jurisdiction because the matter is prudentially unripe. Two

considerations guide this analysis: “the fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration.” Tingley v.

Ferguson, 47 F.4th 1055, 1070 (9th Cir. 2022) (quoting Thomas v. Anchorage

Equal Rts. Comm’n, 220 F.3d 1134, 1141 (9th Cir. 2000) (en banc)). As the Ninth

Circuit recently explained, “[t]he fitness prong is met when “the issues raised are

primarily legal, do not require further factual development, and the challenged

action is final.” Id. (quoting Stormans, Inc. v. Selecky, 586 F.3d 1109, 1126 (9th

Cir. 2009)). The hardship prong considers “whether the challenged law ‘requires

an immediate and significant change in the plaintiffs’ conduct of their affairs with

serious penalties attached to noncompliance.’” Id. at 1070-71 (quoting Stormans,

586 F.3d at 1126).

      Regarding the fitness prong, this case is about preemption, which is a

“predominantly legal” question. Pac. Gas & Elec. Co. v. State Energy Res.

Conservation & Dev. Comm’n, 461 U.S. 190, 201 (1983). The existence of a


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statutory conflict between Section 18-622 and EMTALA does not, in itself, require

meaningful factual development. The factual questions pertain primarily to the

degree and immediacy of the injury to St. Luke’s, and at this stage the record is

sufficiently developed for the Court to proceed. By detailing the impact of Section

18-622’s full enforcement for six months in 2023, St. Luke’s has provided “a

specific factual context for the legal issues,” such that the claims “do not leave

incomplete hypotheticals or open factual questions.” Tingley, 47 F.4th at 1070

(quoting Stormans, 586 F.3d at 1126).

      The Attorney General suggests that more factual development is needed

because the State now claims that emergency conditions like PPROM can be

treated through an abortion “even if the threat to the woman’s life is not

imminent.” Moyle, 603 U.S. at 336 (Barrett, J., concurring). Although this

statement might slightly broaden the life-of-the-mother exception, it does nothing

to address a pregnant woman’s need for stabilizing treatment to stop an injury short

of death.

      In each of the cases described in the Seyb Declaration, an abortion did not

appear necessary to prevent the woman’s death, imminent or otherwise, and there

is a callous irony in the Attorney General’s questioning of St. Luke’s decision to

airlift these women out of state. The memorandum asks “why St. Luke’s providers

did not provide an abortion in Idaho if they determined if [sic] was necessary to


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save the life of the mother.” Def.’s Consolidated Mem. at 13, Dkt. 25-1. The

answer, of course, is obvious—the providers were unsure. While confident that

their patient’s health would be seriously compromised, the providers were not as

certain that death would occur if no abortion was performed. And their freedom

and licensure would hang in the balance as they navigated that uncertain terrain.

Indeed, the entire point of the Declaration—and of this lawsuit—is that an abortion

is occasionally the only possible treatment to prevent serious but non-fatal harm,

such as kidney failure, stroke, infertility, and a host of other life-altering

impairments. As Idaho recently acknowledged before the Ninth Circuit, Section

18-622 would criminalize an abortion necessary to prevent the amputation of a

pregnant woman’s leg. 7

       The issue is thus fit for a judicial decision. As far as hardship, St. Luke’s

would suffer from a delay for the reasons explained in the Court’s above analysis

of the injury-in-fact requirement. This question of harm will be taken up further

below when the Court considers the merits of the injunction.

       C. Sovereign Immunity

       Finally, the Attorney General contends that he is immune from this lawsuit.

“[A] federal court generally may not hear a suit brought by any person against a



7
 Oral Argument at 4:30, United States v. Idaho, No. 23-35440 (9th Cir. 2024),
https://www.ca9.uscourts.gov/media/video/?20241210/23-35440/.

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nonconsenting State.” Allen v. Cooper, 589 U.S. 248, 254 (2020). This principle of

immunity does not appear in the text of the Constitution—except for the Eleventh

Amendment, which refers only to suits by out-of-state plaintiffs—but derives

inherently from the sovereignty vested in each state. Id. State officials, including

the Attorney General, enjoy the same protection. Id.

      Nonetheless, state officials, including the Attorney General, are successfully

sued all the time. See, e.g., Planned Parenthood Great Nw., 122 F.4th 825, 841-43

(9th Cir. 2024). This is because sovereign immunity does not apply when a

“complaint alleges an ongoing violation of federal law and seeks relief properly

characterized as prospective.” Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535

U.S. 635, 645 (2002). As the Supreme Court concluded when setting out this

doctrine in Ex parte Young, “the use of the name of the state to enforce an

unconstitutional act to the injury of complainants is a proceeding without the

authority of, and one which does not affect, the state in its sovereign or

governmental capacity.” 209 U.S. 123, 159 (1908). Accordingly, the Ninth Circuit

more recently explained, “suits seeking prospective relief under federal law may

ordinarily proceed against state officials sued in their official capacities.” Planned

Parenthood Great Nw., 122 F.4th at 842.

      Here, St. Luke’s seeks injunctive relief for a threatened violation of federal

law. This is enough to render sovereign immunity inapplicable. See Vickery v.


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Jones, 100 F.3d 1334, 1346 (7th Cir. 1996) (“[T]he Young exception permits relief

against state officials only when there is an ongoing or threatened violation of

federal law.” (emphasis added)). The Attorney General opines that there is no

“ongoing violation” because the United States v. Idaho injunction enjoins him

from the relevant enforcement of Section 18-622. This argument is, of course, no

longer applicable due to the dismissal of United States v. Idaho. But even if the

United States had not dismissed the case, the Attorney General reads the ongoing

violation requirement far too narrowly. Pre-enforcement challenges, by definition,

are brought prior to the violation, in the most literal sense. In these situations, an

official’s plan to violate federal law suffices to defeat sovereign immunity. See

Armstrong, 575 U.S. at 326.

      In sum, for the reasons explained above, St. Luke’s has brought a justiciable

claim against the Attorney General.

      D. Equitable Claim

      The final issue raised in the Attorney General’s motion to dismiss is whether

St. Luke’s has a valid equitable cause of action. Equitable relief is the rule rather

than the exception, and such a claim is available to St. Luke’s here.

      Although the Supreme Court in Armstrong v. Exceptional Child Center held

that Congress can expressly or implicitly limit the equitable powers of federal

courts, equitable relief remains “traditionally available to enforce federal law.” 575


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U.S. 320, 329 (2015). The Attorney General says that Armstrong forecloses this

lawsuit, but Armstrong’s foundational holding supports the viability of St. Luke’s

equitable claim.

      The Armstrong Court considered whether private parties could bring an

equitable action to enforce § 30(A) of the Medicaid Act. 575 U.S. at 322. The

plaintiffs provided “habilitation services” to persons covered by Idaho’s Medicaid

plan. They claimed that Idaho was violating § 30(A) of the Medicaid Act by

reimbursing them at rates lower than those allowed by § 30(A), which required

Idaho’s Medicaid plan to

      provide such methods and procedures relating to the utilization of,
      and the payment for, care and services available under the plan ...
      as may be necessary to safeguard against unnecessary utilization of
      such care and services and to assure that payments are consistent
      with efficiency, economy, and quality of care and are sufficient to
      enlist enough providers so that care and services are available
      under the plan at least to the extent that such care and services are
      available to the general population in the geographic area....

42 U.S.C. § 1396a(a)(30)(A).

      The Court held that the habilitation providers could not proceed in equity

because Congress had implicitly foreclosed such a claim. Before reaching that

holding, however, the Court observed that it had “long held that federal courts may

in some circumstances grant injunctive relief against state officers who are

violating, or planning to violate federal law.” Armstrong, 575 U.S. at 326. Indeed,

these types of suits aren’t particularly novel or unusual. Id. at 336-37 (Sotomayor,

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J., dissenting). Still, though, “Congress may displace the equitable relief

traditionally available to enforce federal law,” id. at 329, and it may do so

explicitly or implicitly. Id. at 327 (“The power of federal courts of equity to enjoin

executive action is subject to express and implied statutory limitations.”).

      The Armstrong Court concluded that two aspects of the Medicaid Act,

combined, established that Congress intended to foreclose private enforcement of

§ 30(A) of that Act. First, the Court observed that the sole remedy Congress

provided for a state’s failure to comply with Medicaid’s requirement was the

withholding of Medicaid funds by the Secretary of Health and Human Services. By

providing only an agency remedy, Congress had evidently traded “the comparative

risk of inconsistent interpretations and misincentives that can arise out of an

occasional inappropriate application of the statute in a private action” for “the

expertise, uniformity, widespread consultation, and resulting administrative

guidance that can accompany agency decisionmaking.” Id. at 328-329.

      This “sole-remedy” concern is not present here. Although EMTALA does

contain a similar, fund-withholding mechanism, that is not the only remedy it

provides. EMTALA also creates a private right of action for individual patients and

medical facilities to obtain damages or equitable relief. See 42 U.S.C.

§ 1395dd(d)(2)(A), (B). Moreover, the fact that the statute expressly permits

equitable relief by certain parties is evidence that Congress did not intend to bar


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the broader availability of equitable claims.

      The second aspect of the Medicaid Act that convinced the Armstrong Court

that Congress intended to foreclose an equitable claim was the nature of the statute

itself. The Court described the statute there as “judicially unadministrable.” Id. at

328. Justice Breyer put a finer point on it. He said that “[t]he history of

ratemaking”—and that’s what was at the heart of the dispute between the

Armstrong parties—“demonstrates that administrative agencies are far better suited

to this task than judges.” Id. at 333 (Breyer, J., concurring). In his estimation, the

verbiage of the statute “underscore[d] the complexity and nonjudicial nature of the

rate-setting task.” Id. at 334 (Breyer, J., concurring).

      The EMTALA provisions at issue here do not suffer from this problem. The

Court is not faced with a rate-setting statute that is “judicially unadministrable.”

Rather, it is called upon to perform a very familiar task—statutory interpretation,

or, more specifically, deciding whether a state statute conflicts with a federal one.

Cf. Moyle v. United States, 603 U.S. 324, 347 (2024) (Alito, J., dissenting)

(describing the underlying issue in United States v. Idaho as “a straightforward

question of statutory interpretation”). Under these circumstances, the Court

concludes that Armstrong does not foreclose St. Luke’s equitable claim.

2. Preliminary Injunction

      Having decided that St. Luke’s may proceed with its claims, the Court will


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turn to the injunction motion. “A preliminary injunction is ‘an extraordinary and

drastic remedy, one that should not be granted unless the movant, by a clear

showing, carries the burden of persuasion.” Fraihat v. United States Immigration

& Customs Enf’t, 16 F.4th 613, 635 (9th Cir. 2021) (citation omitted). To obtain

relief, St. Luke’s must establish that: (1) it is likely to succeed on the merits; (2) it

is likely to suffer irreparable harm in the absence of preliminary relief; (3) the

balance of equities tips in its favor; and (4) an injunction is in the public interest.

Winter v. NRDC, 555 U.S. 7, 20 (2008).

       A. Likelihood of Success on the Merits

       To determine whether St. Luke’s is likely to succeed on the merits of its

claims, the Court must once again consider whether EMTALA preempts Idaho’s

Defense of Life Act in the narrow range of circumstances at issue here. The Court

will first explain the general nature of the statutory conflict and EMTALA’s

preemptive power. The analysis will then turn to several specific constitutional and

statutory concerns: (1) restrictions on Spending Clause legislation; (2) EMTALA’s

reference to the “unborn child,” as well as the statute’s broader context and

purpose; and (3) the absence of a national standard of care under EMTALA. 8 See




8
 The Attorney General raises several additional arguments “in a summary manner,” either
because this Court already ruled on the arguments in United States v. Idaho or because the Ninth
Circuit was about to do so. Opp., Dkt. 25-1, at 29. The Court will not address these undeveloped
arguments other than to say none persuade it that St. Luke’s is unlikely to succeed on the merits.

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infra §§ 2.B.ii to iv.

              i.     Conflict and Preemption: Idaho’s Defense of Life Act is
                     Preempted In the Narrow Circumstance Where It Prohibits
                     Stabilizing Treatment Required Under EMTLA

       To decide whether Idaho’s Defense of Life Act directly conflicts with

EMTALA and is therefore preempted in the context of EMTALA-mandated care,

the Court is guided by the Supremacy Clause and basic preemption principles. The

Supremacy Clause provides that federal law “shall be the supreme Law of the

Land.” U.S. Const. art. VI, cl. 2. “Congress may consequently pre-empt, i.e.,

invalidate, a state law through federal legislation.” Oneok, Inc. v. Learjet, Inc., 575

U.S. 373, 376 (2015).

       In EMTALA, Congress indicated its intent to displace state law through an

express preemption provision, which says EMTALA preempts state law only “to

the extent that the [state law] requirement directly conflicts with a requirement of

this section.” 42 U.S.C. § 1395dd(f). The Ninth Circuit has construed EMTALA’s

“directly conflicts” language as referring to two types of preemption—

impossibility preemption and obstacle preemption. Draper v. Chiapuzio, 9 F.3d

1391, 1393 (9th Cir. 1993). Impossibility preemption occurs, straightforwardly,

“where it is impossible for a private party to comply with both state and federal

law.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000). And

obstacle preemption exists where state law “stands as an obstacle to the


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accomplishment and execution of the full purposes and objectives of Congress.”

Id. at 373. Both standards are satisfied here.

      Beginning with impossibility preemption, Section 18-622 directly conflicts

with EMTALA because in a narrow range of circumstances it is impossible for

physicians to comply with both laws. When a pregnant woman suffering from an

emergency medical condition that, absent an abortion, will threaten serious harm to

her health but not cause her death, Idaho law prevents the physician from

performing the very treatment EMTALA requires. This is clear from a comparison

of the two laws: Idaho’s Defense of Life Act allows abortion only when “necessary

to prevent the death of the pregnant woman,” Idaho Code § 18–622(2)(a)(i), while

EMTALA requires stabilizing care to prevent “serious jeopardy” to the woman’s

health, 42 U.S.C. § 1395dd(e)(1)(A)(i).

      And this isn’t simply an academic issue. Taking just one example, if a

woman comes to an emergency room with PPROM, she may not be facing death,

but she does face serious risks to her health, including damage to her uterus, which

may prevent her from having children in the future. Six members of the Supreme

Court appear to have acknowledged that a conflict exists in this precise situation.

Justice Kagan, joined by Justice Sotomayor, observed that “when a woman comes

to an emergency room with PPROM, the serious risk she faces may not be of death

but of damage to her uterus, preventing her from having children in the future,”


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and that “Idaho has never suggested that its law would allow an abortion in those

circumstances.” Moyle, 603 U.S. at 328 (Kagan, J., concurring). Justice Jackson

stated that “Idaho cannot credibly maintain that its law always permits abortions in

cases of PPROM or pre-eclampsia such that its mandate never conflicts with

federal law.” Id. at 342 (Jackson, J., concurring in part and dissenting in part).

Even Justice Alito’s dissent, joined by Justice Thomas and Justice Gorsuch,

acknowledged that “in PPROM cases, there may be an important conflict between

what Idaho law permits and what EMTALA, as interpreted by the Government,

demands”—though the dissent disputed that EMTALA can ever require hospitals

to perform emergency abortions. Id. at 365 (Alito, J., dissenting).

      PPROM is not the only situation where it is impossible to comply with both

laws. As the Court has found, patients may present in emergency rooms with

several medical conditions that place their health in serious jeopardy, or threaten

their bodily functions or organs, but do not necessarily threaten their lives. To

highlight a few examples, doctors have described specific patients who presented

with conditions including preeclampsia with severe features, HELLP Syndrome,

hypovolemic shock due to blood loss, and septic abortion. See Cooper Dec. ¶¶ 6, 8,

10, US v. Idaho Dkt. 17-7; Seyb Dec. ¶¶ 7-12, US v. Idaho Dkt. 17-8. In each case,

the patient’s health was in serious jeopardy. In each case, a fetal heartbeat was

present. And in each case, the physicians determined that an abortion was


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“necessary to assure, within reasonable medical probability, that no material

deterioration of the condition [was] likely to result.” 42 U.S.C. § 1395dd(e)(3)(A).

But despite these conditions’ serious risks, it may not be possible for the physician

to know whether abortion is “necessary to prevent the death” of the pregnant

patient. Fleisher Dec. ¶¶ 22-23, US v. Idaho Dkt. 17-3.

       The Attorney General nevertheless insists there is no conflict between the

two laws. See, e.g., Mar. 5. Tr., Dkt. 40 at 33 (“Your Honor, there is no conflict

between EMTALA and the Idaho Defense of Life Act.”). During oral argument, he

contended that the six airlifts described above demonstrate that EMTALA does not

require abortion as a stabilizing treatment. Essentially, he argues that an emergency

termination is never necessary in these situations because a woman suffering from

conditions such as PPROM, preeclampsia, or placental abruption, but who is not

facing death, can always be stabilized for transfer. He says the fact that the six

airlifts occurred necessarily “prove[s] that abortion was not necessary to provide

the stabilizing care.” Id. at 34.

       The first problem with this argument is that the declarations on file clearly

set out situations where abortion is the necessary stabilizing treatment—direct




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evidence of a nonspeculative conflict.9 See, e.g., Corrigan Dec. ¶ 29, US v. Idaho

Dkt. 17-6 (describing a patient with preeclampsia with severe features, where

“[t]he only medically accepted standard of care” in her case “was to terminate the

pregnancy through evacuation of the uterus”). To highlight one example, Dr. Seyb

describes a patient, ultimately airlifted to a neighboring state, who came to the

emergency room experiencing PPROM while 20 weeks pregnant. Her pregnancy

was pre-viability, and the infection threatened to damage her kidneys and render

her infertile. See Seyb Supp. Dec. ¶ 9. This easily meets EMTALA’s definition of

an emergency medical condition. The treating physician determined “that, without

termination, the patient’s kidneys could stop functioning,” meaning that an

abortion was the appropriate stabilizing care within the meaning of EMTALA. But

the physician could not “say that termination was necessary to prevent death”—

imminent or otherwise. Id. ¶ 9. The Court therefore rejects the Attorney General’s




       9
           The Attorney General suggests St. Luke’s can’t sue unless it can point to a specific St.
Luke’s patient who—at the moment the complaint is filed—is “in present need of an abortion
that EMTALA authorizes or requires,” but that § 18-622 forbids. Opp., Dkt. 25-1, at 30. But St.
Luke’s obviously cannot be expected to wait until a patient is in the midst of a medical
emergency before suing. There would hardly be enough time to pull the papers together—much
less for the Court to enter relief. Moreover, although the conflict alleged in a preemption case
“must be an actual conflict, not merely a hypothetical or potential conflict,” this “does not
foreclose challenges based on future or anticipated conflicts.” Montana Med. Ass’n v. Knudsen,
119 F.4th 618, 623 (9th Cir. 2024). In short, the Court is not persuaded by the Attorney
General’s argument that St. Luke’s claim is based on speculation and must be treated as a facial
challenge. See United States v. Idaho, 623 F. Supp. 3d 1096, 1107-08 (D. Idaho 2022) (rejecting
Idaho’s argument that the United States had launched a facial challenge).

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assertion that “there is no medical situation in which it’s necessary to do an

abortion as the stabilizing care.” Mar. 5, 2025 Tr., Dkt. 40, at 34.

      The second problem with the Attorney General’s argument is that the mere

fact that this patient was airlifted out of state does not, standing alone, demonstrate

she was stabilized pre-transfer. To be sure, EMTALA defines stabilization with

reference to a potential transfer. The relevant section provides:

      The term “to stabilize” means, with respect to an emergency medical
      condition described in paragraph (1)(A), to provide such medical
      treatment of the condition as may be necessary to assure, within
      reasonable medical probability, that no material deterioration of the
      condition is likely to result from or occur during the transfer of an
      individual from a facility . . . .

42 U.S.C. § 1395dd(e)(3)(A) (emphasis added); see also § 1395dd(e)(3)(B)

(defining “stabilized”). But the fact of a transfer does not necessarily mean the

underlying emergency medical condition was stabilized because EMTALA allows

a transfer when an individual has not been stabilized if a physician certifies that the

medical benefits from a transfer to another medical facility will outweigh the

increased risks. 42 U.S.C. § 1395dd(c)(1)(A)(ii). Paragraph 53 of the complaint

speaks to this cost-benefit analysis:

      Of course, airlifting patients also puts patients at risk due to
      significant delays in care while arranging medical transport out of
      state. And those delays could create a situation where the patient is no
      longer stable enough that the benefits of transfer outweigh the risks,
      again leaving St. Luke’s medical providers to wait until termination is
      necessary to prevent the patient’s death—even while knowing that the
      wait could have severe health consequences, including damage to the

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      patient’s future reproductive health. As a result, St. Luke’s physicians
      described a constant fear that patients would present in an emergency
      room who were not stable enough to transfer, yet the medically
      indicated stabilizing care—termination—could not be provided
      because it was not yet needed to prevent the patient’s death.

Compl. ¶ 53, Dkt. 1 (emphasis added).

      Consistent with this allegation, Dr. Seyb’s declaration discusses the risk-

benefit analysis that attended the airlifts. See Supp. Seyb Dec. ¶ 17, Dkt. 2-2. In

other words, it appears that each of those six patients was experiencing an

emergency medical condition, but the benefits of transfer outweighed the risks. See

id. ¶ 8 (indicating that the six patients had to be airlifted because St. Luke’s was

“unable to provide the full range of stabilizing care necessary to preserve the

patient’s health”). This tracks with Dr. Seyb’s description of the six airlifted

patients, where he states that each patient was experiencing an emergency medical

condition: “In these instances, each patient was experiencing an emergency

medical condition that placed her health in serious jeopardy, risked serious

impairment to her bodily functions, or risked serious dysfunction to bodily organs

or parts. The treating physicians—either one of my colleagues or I—would have

offered and/or recommended termination as a treatment option, consistent with the

standard of care, but believed we could not do so consistent with § 18-622.” Seyb

Supp. Dec. ¶ 15, Dkt. 2-2 (emphasis added). The Attorney General’s argument that

an abortion is never the necessary stabilizing care under EMTALA is thus


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contradicted by the record.

      Another problem with the Attorney General’s argument that there is no

practical conflict between EMTALA and the Defense of Life Act is that he is

attempting to impose the rigidities of criminal law onto the fluid nature of

delivering emergency medical care. Although the Idaho Supreme Court has said

that a pregnant woman’s death need not be “imminent” to qualify under the life-

saving exception, the Defense of Life Act plainly requires that an abortion is

“necessary to prevent the death.” If “imminent” is not the standard, how close must

the woman be to death for the abortion to be “necessary”? There is no way for

physicians to know this, and the price of falling on the wrong side of the line is a

felony conviction. EMTALA, in contrast, uses much less categorical language:

“such medical treatment of the condition as may be necessary to assure, within

reasonable medical probability, that no material deterioration of the condition is

likely to result . . . .” 42 U.S.C. § 1395dd(e)(3)(A).

      The Attorney General’s suggestion that St. Luke’s should simply transfer

pregnant emergency-room patients also stands antithetical to EMTALA’s key

purpose. The Attorney General—along with several Supreme Court justices—have

emphasized the fact that Congress enacted EMTALA in response to “patient

dumping.” D.’s Resp. to Pl.’s Suppl. Brief at 5, Dkt. 47; D.’s Consol. Mem. at 28,

Dkt. 25-1; Moyle, 603 U.S. at 352 (Alito, J., dissenting). Before EMTALA,


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hospitals would often turn away or transfer patients “deemed troublesome or

undesirable.” Makenzie Doubek & Scott J. Schweikart, Why Should Physicians

Care About What Law Says About Turfing and Dumping Patients?, 25 AMA

Journal of Ethics 892 (2023). When EMTALA passed, these “undesirable” patients

were the indigent. Today, they are pregnant women. Although Congress could not

have foreseen this dimension of patient dumping—women transferred to other

facilities not because they are poor but because the emergency service they need

has been criminalized—EMTALA’s requirements are deliberately broad. Patients

cannot be transferred to another facility until they have received stabilizing

treatment, regardless of whether they can pay and regardless of what form that care

must take.

      In sum, the Court reaches the same conclusion it reached before, in United

States v. Idaho. That is, in a narrow range of cases, it is impossible to

simultaneously comply with EMTALA and Idaho Code §18-622. Moreover, “even

if it were theoretically possible to simultaneously comply with both laws, Idaho

law ‘stands as an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.’” Idaho, 623 F. Supp. 3d at 1111 (citation

omitted); see also Seyb Supp. Dec. ¶ 6, Dkt. 2-2. The severe penalties that attach to

violating § 18-622 pose an obstacle to the fulfillment of EMTALA’s purpose of

“ensuring that patients[] . . . receive adequate emergency medical care.” Vargas ex


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rel. Gallardo v. Del Puerto Hosp., 98 F.3d 1202, 1205 (9th Cir. 1996).

      Neither the Idaho legislature’s amendment to § 18-622 nor the Idaho

Supreme Court’s decision Planned Parenthood of the Great Nw. v. State, 522 P.3d

1132, 1202-04 (Idaho 2023), changes this conclusion. The 2023 amendments to

Idaho Code § 18-622 codified an exception for ectopic pregnancies and converted

what was previously an affirmative defense into an exception for liability in

situations where an abortion is necessary to prevent the pregnant woman’s death.

Those revisions do nothing to bring the two laws closer together in terms of what

they require and what they prohibit. Likewise, the Idaho Supreme Court’s Planned

Parenthood decision does not eliminate the conflict. That court acknowledged the

conflict between the two laws when it explained that § 18-622 “does not include

the broader ‘medical emergency’ exception for abortions” contained in other

statutes, and that EMTALA’s broader definition of medical emergency “explains

to medical providers” when “the Total Abortion Ban cannot be enforced.” Planned

Parenthood Nw., 522 P.3d at 1196, 1207.

      Finally, the fact that the Idaho Supreme Court adopted a subjective, good-

faith medical judgment standard for the life-of-the-mother exception does not cure

the uncertainty regarding what Idaho’s Defense of Life Act allows medical

professionals to do. See Seyb Supp. Dec. ¶ 19, Dkt. 2-2. Even in that situation, the

state’s prosecutors may call “other medical experts” to opine on “whether the


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abortion was, in their expert opinion, medically necessary” as a way of calling into

question the doctor’s good faith. This aspect of Idaho’s law was explored during

the following exchange between Justice Barrett and counsel for Idaho:

      Justice Barrett:     What if the prosecutor thought differently? What
                           if the prosecutor thought, well, I don’t think any
                           good-faith doctor could draw that conclusion, I'm
                           going to put on my expert?

      Idaho’s Counsel:     …that, Your Honor, is the nature of prosecutorial
                           discretion, and it may result in … a case . . . .

Transcript, at 29:3-11 (emphasis added). Thus, notwithstanding the Idaho Supreme

Court’s adoption of a subjective, good-faith standard, Idaho Code § 18-622 will

still deter the provision of EMTALA-mandated stabilizing care. The law is

therefore preempted.

             ii. The Spending Clause

      That Congress enacted EMTALA pursuant to its spending power does not

change the above analysis. The Attorney General raises the novel constitutional

argument—also asserted on appeal in United States v. Idaho—that the Supremacy

Clause does not always apply to Spending Clause legislation. The Court rejects this

inversion of the principles of federalism.

      The Spending Clause empowers Congress to “lay and collect Taxes, . . . to

pay the Debts and provide for the general Welfare of the United States.” U.S.

Const. art. I, § 8, cl. 1. “Put simply, Congress can tax and spend.” NFIB v.


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Sebelius, 567 U.S. 519, 537 (2012). When exercising its spending power,

“Congress may attach conditions on the receipt of federal funds, and [it] has

repeatedly employed the power to further broad policy objectives by conditioning

receipt of the federal moneys upon compliance by the recipient with federal,

statutory, and administrative directives.” South Dakota v. Dole, 483 U.S. 203, 206

(1987) (internal quotation marks and citations omitted). There are, however,

restrictions to Congress’ power to attach these conditions: (1) Congress must

provide clear notice of any condition; (2) the condition must relate to the program

or funding stream; (3) the condition may not be unduly coercive, and (4) the

condition may not induce a recipient to violate another constitutional provision. Id.

at 207-08.

      Here, Idaho has not accepted the federal funds at issue; those funds are paid

to the participating hospitals, including St. Luke’s. Since Spending Clause

legislation is viewed as being “much in the nature of a contract,” this raises the

problem that Idaho has not accepted the terms of this particular contract. See

generally NFIB v. Sebelius, 567 U.S. 519, 576-77 (2012) (observing that the

Supreme Court has “repeatedly characterized . . . Spending Clause legislation as

‘much in the nature of a contract’’) (emphasis in original; citation omitted). As the

Attorney General puts it, “[t]he United States’ contract with a private hospital

cannot bind a nonconsenting state, any more than any contract can bind a


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nonparty.” Response, Dkt. 25-1, at 18.

      But the point of requiring states to knowingly and voluntarily assent to

conditions stated in Spending Clause legislation is that Congress would otherwise

be unable to impose those conditions on the states. Those concerns are not present

here. As the Supreme Court recognized in Gonzales v. Oregon, “[e]ven though

regulation of health and safety is ‘primarily, and historically, a matter of local

concern,’ there is no question that the Federal Government can set uniform

national standards in these areas.” 546 U.S. 243, 271 (2006) (internal citations

omitted; emphasis added). Thus, Congress may regulate the provision of

emergency medical services under the Commerce Clause. Cf. Gonzales v. Raich,

545 U.S. 1, 9 (2005) (holding that the Commerce Clause empowers Congress to

prohibit state-law-permitted individual marijuana cultivation for personal medical

purposes); see also Dobbs v. Jackson Women’s Health Organization, 597 U.S.

215, 337 (2022) (Kavanaugh, J.) (recognizing that when it comes to abortion,

“[t]he Constitution is neutral and leaves the issue for the people and their elected

representatives to resolve through the democratic process in the States or Congress

. . . .”) (emphasis added).

      The Court is not persuaded by the Attorney General’s various arguments to

the contrary. Among other things, the Attorney General says that although the

Commerce Clause “authorizes Congress to regulate interstate commerce” it does


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not allow Congress “to order individuals to engage in it.” NFIB, 567 U.S. at 588.

He likens the situation here to the individual mandate at issue in NFIB v. Sebelius,

567 U.S. 519 (2012). But that analogy doesn’t hold because the relevant parties are

already engaged in commerce: hospitals are already providing emergency

healthcare services and pregnant patients are already arriving at those hospitals

seeking emergency services.

      Returning to the broader principle, then, Congress doesn’t need Idaho’s

consent here, because it could adopt the regulation directly. That the structure of

EMTALA suggests it was enacted under the Spending Clause instead of the

Commerce Clause doesn’t change that conclusion. As the Supreme Court has

explained, “[t]he ‘question of the constitutionality of action taken by Congress

does not depend on recitals of the power which it undertakes to exercise.’” NFIB,

567 U.S. at 570 (citing Woods v. Cloyd W. Miller Co., 333 U.S. 138, 144 (1948)).

      The Ninth Circuit confirmed this principle in Nevada v. Skinner, 884 F.2d

445 (9th Cir. 1989). There, Nevada argued that Congress had imposed coercive

conditions attendant to an exercise of its spending power by conditioning receipt of

highway funds on states’ adoption of a 55-mph speed limit. Id. at 446-47. The

court held that the “anti-coercion principle” was “simply inapplicable” because

Congress could have imposed the 55-mph speed limit though an exercise of its

power to regulate commerce. Id. at 450. As the court explained, “if Congress has


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the authority under the Commerce Clause to order a state directly to comply with a

particular standard such as a 55-mile-per-hour speed law, we see no reason why

Congress should be prohibited from reaching that same result indirectly by

withholding funds if the state fails to comply with that standard.” Id. at 449. The

same is true here.

      This interpretation further reflects the Supreme Court’s long-held

understanding that ordinary preemption principles apply to Spending Clause

legislation—even if private parties happen to be the recipients of the federal funds.

See, e.g. Coventry Health Care of Mo., Inc. v. Nevils, 581 U.S. 87, 95-99 (2017);

Bennett v. Arkansas, 485 U.S. 395, 396 (1988) (per curiam); Lawrence County v.

Lead-Deadwood Sch. Dist. No. 40-1, 469 U.S. 256, 269-70 (1985); Philpott v.

Essex County Welfare Bd., 409 U.S. 413, 417 (1973); United States v. Butler, 297

U.S. 1 (1936). The Attorney General says these sorts of cases aren’t relevant or

helpful. Among other things, he says some of the cases just cited—Coventry

Health Care of Mo., Inc. v. Nevils, 581 U.S. 87, 95-99 (2017) and Bennett v.

Arkansas, 485 U.S. 395, 396 (1988) (per curiam), for example—aren’t even

Spending Clause cases. Reply, Dkt. 29, at 11. Granted, those two cases don’t

explicitly discuss the Spending Clause. But the point is that the legislation at issue

was passed under Congress’s spending power. So the foundational teaching is that

Spending Clause legislation traditionally has been subject to basic preemption


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principles—even where a private party receives the federal funds. The Court sees

no reason to depart from that basic principle.

             iii. The Text, Context, and Purpose of EMTALA

      The Attorney General next contends that the text, context, and purpose of

EMTALA “preclude reading it as a preempting abortion mandate.” Response, Dkt.

25-1, at 23. This argument is primarily rooted in EMTALA’s various references to

protecting an “unborn child.” See 42 U.S.C. § 1395dd(c)(1)(A)(ii), (2)(A),

(e)(1)(A)(i), (e)(1)(B)(ii). The phrase “unborn child” appears four times in the text.

Three of those references relate to transferring women who are in labor. See §

1395dd(c)(1)(A)(ii), (2)(A), (e)(1)(B)(ii). The fourth is contained in EMTALA’s

definition of an “emergency medical condition,” which obligates a participating

hospital to treat a condition that “[p]laces the health of the individual (or, with

respect to a pregnant woman, the health of the woman and her unborn child) in

serious jeopardy.” § 1395dd(e)(1)(A)(i).

      These references to the unborn child do not alter a hospital’s core obligation

to offer an abortion if that is the stabilizing treatment EMTALA guarantees.

Having considered the parties’ various arguments on this point (including

arguments based on the concurring and dissenting opinions in Moyle v. United

States, 603 U.S. 324 (2024)), the Court is persuaded by the reasoning set forth in

Justice Kagan’s concurring opinion. See Moyle, 603 U.S. at 330-31 (Kagan, J.,


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concurring). As Justice Kagan explains, the parenthetical reference to an “unborn

child” in EMTALA’s definition of an emergency medical condition, which “was

added in an amendment to EMTALA,[10] ensures that a woman with no health

risks of her own can demand emergency-room treatment if her fetus is in peril. It

does not displace the hospital’s duty to a woman whose life or health is in

jeopardy, and who needs an abortion to stabilize her condition. Then, the statute

requires offering that treatment to the woman.” Moyle, 603 U.S. at 331 (Kagan, J.,

concurring) (emphasis added).

       In the Court’s view, this is the correct reading of the statutory language.

It’s also worth noting that where an abortion is the necessary stabilizing treatment,

the pregnancy complication means that the fetus will almost surely not survive,

even absent an immediate termination. See, e.g., Seyb Supp. Dec. ¶¶ 10, 12 Dkt. 2-

2 (describing two patients who presented at 18 and 23 weeks, with serious

complications, where the fetuses would “almost certainly” not be viable). In those

circumstances, there would be no treatment that could “assure, within reasonable

medical probability, that no material deterioration” of the fetus’s condition would

be likely to occur.




10
  EMTALA was originally enacted in 1986 and amended in 1989. Compare 42 U.S.C. §
1395dd(c), (e), Pub. L. 99-272, 100 Stat. 164, 165-67 (1986), with 42 U.S.C. § 1395dd(c), (e),
Pub. L. 101-239, 103 Stat. 2245, 2246-49 (1989).

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      The Court is likewise unpersuaded by the Attorney General’s argument that

EMTALA’s purpose and context are inconsistent with what he calls “a preempting

abortion mandate.” The Attorney General correctly observes that a key purpose of

EMTALA was to prevent “patient-dumping” by discharging or transferring

critically ill patients who lacked insurance rather than providing them “the care

they need.” 131 Cong. Rec. 28, 569 (1985) (Sen. Kennedy). But the statute’s text

and legislative history show that patient-dumping was not the only concern.

Rather, Congress’s concern about “‘patient dumping’ reflected its commitment to a

broader principle that ‘every patient who has a bonafide emergency’ should receive

stabilizing care.” Id. The statute Congress enacted plainly mandates that care.

      The larger context in which EMTALA was enacted—particularly, the Hyde

Amendment’s restrictions on abortion funding—does not alter this conclusion.

Congress enacted the first version of the Hyde Amendment in 1976 as a rider to an

appropriations bill. The amendment restricted the use of federal funds to pay for

abortion services. The language and scope of the Hyde Amendment changed over

the years, but the version in effect when EMTALA was enacted and amended

prohibited using federal funds to pay for abortions except when the life of the

mother would be endangered if the fetus was carried to term. Given that context,

the Attorney General say it is not plausible to conclude that EMTALA permits

emergency abortions.


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      But the Hyde Amendment does not limit EMTALA’s underlying

stabilization obligation. And just because an abortion—or any other stabilizing

treatment, for that matter—will not be subsidized with federal funds doesn’t

excuse participating hospitals from EMTALA’s stabilization mandate. Indeed,

much of the care EMTALA requires will not be subsidized by federal funds. The

United States made this point before the Supreme Court, offering this hypothetical:

      I’ll give you an example of a Medicare patient who goes in and his
      emergency medical condition means he needs a particular drug that’s
      not covered by his Medicare benefits. Still, the hospital has to provide
      him with stabilizing treatment and give him the medication, even
      though federal funding isn’t going to pay for it.

      And that also applies to people who are uninsured, who aren’t covered
      by Medicare in the first instance. The … whole point of EMTALA
      was it doesn’t matter your circumstances, it doesn’t matter whether
      you can pay or not, it doesn’t matter the particulars of your situation,
      this is a guarantee. You can get the stabilizing treatment.

Apr. 24, 2024 Tr., at 94:21 to 95:11.11 Put another way, EMTALA and the Hyde

Amendment operate in separate spheres: the Hyde Amendment restricts using

federal funding to subsidize abortions while EMTALA deals with emergency

medical treatment, which may at times include abortions. The Attorney General’s

arguments based on the Hyde Amendment are thus unpersuasive.

      The Court believes the more relevant legislative context is found in



11
   The transcript is available here:
https://www.supremecourt.gov/oral_arguments/argument_transcript/2023.

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Congress’s passage of the Affordable Care Act. In a section of that Act dealing

entirely with abortion, Congress provided that the Affordable Care Act would not

require insurance plans to cover abortion and prohibited the use of federal

subsidies for abortions. 42 U.S.C. § 18023 (a), (b). But Congress also provided that

“[n]othing in this Act shall be construed to relieve any health care provider from

providing emergency services as required by State or Federal law, including

section 13955dd of this title (popularly known as ‘EMTALA’).” § 18023(d). With

this provision, the Affordable Care Act eliminated any doubt that Congress

considered abortion to be an “emergency service” under EMTALA. More to the

point here, if the Affordable Care Act contemplates an “abortion” as an EMTALA-

mandated emergency service, which it surely does, then EMTALA cannot require

hospitals to “protect an ‘unborn child’ in the way the Attorney General insists. See

Br. of Amicus Am. Hosp. Ass’n, Dkt. 19.

      The Attorney General says this view of the Affordable Care Act is flawed

because another provision says state abortion laws are not preempted. But that

provision is limited to state laws regarding coverage, funding, and procedural

requirements. It provides:

      Nothing in this Act shall be construed to preempt or otherwise have
      any effect on State laws regarding the prohibition of (or requirement
      of) coverage, funding, or procedural requirements on abortions,
      including parental notification or consent for the performance of an
      abortion on a minor.


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§ 18023(c)(1) (emphasis added). Idaho’s Defense of Life Act is not the kind of

procedural requirement covered by this provision. To the contrary, § 18-622 is a

ban on the performance of an abortion—not a “procedural requirement[] on

abortion.” Accordingly, this preemption provision does not undermine the Court’s

conclusion that Affordable Care Act requires hospitals to provide emergency

abortions if that is the necessary stabilizing treatment under EMTALA.

             iv. National Standard of Care

      The Attorney General’s next argument arises from cases holding that

EMTALA does not establish a national standard of care. The logic is that because

EMTALA does not establish a national standard of care, it cannot require hospitals

to perform any specific medical procedure: “if state law prohibits a particular

treatment, then the treatment is not available, and EMTALA does not require it.”

Reply, Dkt. 29, at 9; see also Opp., Dkt. 25-1, at 23. Thus, the Attorney General

says that even if terminating a pregnancy is the only treatment that will “stabilize”

a patient with an “emergency medical condition” (as those terms are defined in

EMTALA), and even if physicians at the hospital are capable of providing that

treatment, EMTALA cannot require it. This interpretation distorts EMTALA’s

core mandate.

      EMTALA does not create a private federal right of action for “medical

malpractice” under “a national standard of care.” Bryant v. Adventist Health


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System/West, 289 F.3d 1162, 1166 (9th Cir. 2002); Eberhardt v. City of Los

Angeles, 62 F.3d 1253, 1258 (9th Cir. 1995). But that doesn’t mean EMTALA has

nothing to say about the type of screening examination or stabilizing treatment that

must be performed. Rather, the larger point from these cases is that liability under

EMTALA “is determined independently of whether any deficiencies in the

screening or treatment provided by the hospital may be actionable as negligence or

malpractice.” Torretti v. Main Line Hosps., Inc., 580 F.3d 168, 173-174 (3d Cir.),

amended, 586 F.3d 1011 (2009). A state-law malpractice action asks whether any

aspect of the provider’s treatment breached a duty of care as defined by state law.

EMTALA asks a more focused question: Whether a provider satisfied a specific

statutory obligation to provide an “appropriate medical screening examination” and

to provide such treatment as necessary to “stabilize” an “emergency medical

condition.” 42 U.S.C. 1395dd(b)(1)(A).

      The Ninth Circuit’s decision in Eberhardt v. City of Los Angeles, 62 F.3d

1253 (9th Cir. 1995), illustrates how federal and state laws operate in these

situations. There, the plaintiff sued a hospital and physician for discharging his son

in an unstable mental condition, alleging that they had violated EMTALA’s

requirement to properly screen and stabilize him. Regarding the screening

requirement, the court explained that “[t]he hospital’s failure to detect the

decedent’s alleged suicidal tendency may be actionable under state medical


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malpractice law, but not under EMTALA.” Id. at 1258. But the court also

explained that “Congress’s refusal to impose a national standard of care does not

mean that a hospital can discharge its duty under EMTALA by not providing any

screening, or by providing screening at such a minimal level that it properly cannot

be said that the screening is ‘appropriate.’” Id. (citing Baber v. Hosp. Corp. of Am.,

977 F.2d 872, 879 n.7 (4th Cir. 1992)). And to determine what “appropriate”

meant, the court looked to the standard articulated in EMTALA: “The touchstone

is whether, as § 1395dd(a) dictates, the procedure is designed to identify an

‘emergency medical condition,’ that is manifested by ‘acute’ and ‘severe’

symptoms.” Id.

      The Eberhardt court also had to decide if the hospital had violated

EMTALA’s stabilization requirement. That was an easier issue; the court decided

there was no violation because the hospital hadn’t detected an emergency medical

condition in the first place. But the court nevertheless clarified that the hospital

was independently obligated to satisfy EMTALA’s stabilization requirement. And,

once again, the Court noted that EMTALA’s text would guide the inquiry:

      [W]e do note that the stabilization requirement is not met by simply
      dispensing uniform stabilizing treatment, but rather, by providing the
      treatment necessary “to assure, within reasonable medical probability,
      that no material deterioration of the condition is likely to result....” 42
      U.S.C. § 1395dd(e)(3)(A).

Id. at 1259 n.3 (citing In the Matter of Baby K, 16 F.3d 590, 596 (4th Cir. 1994)


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(holding that “the Hospital must provide that treatment necessary to prevent the

material deterioration of each patient’s emergency medical condition”)).

      Under Eberhardt’s logic, although EMTALA does not supplant state

medical malpractice law, states cannot enact legislation denying patients the right

to an “appropriate” screening examination. Nor can states enact legislation denying

the stabilizing care EMTALA guarantees. If they do, it is state law that must give

way—not federal law.

      B. Likelihood of Irreparable Harm

      Turning to likelihood of irreparable harm in the absence of an injunction, the

Court easily finds St. Luke’s has made this showing. Given the unique posture of

this case, we’ve had a preview of what will happen in the absence of an injunction.

When the Supreme Court stayed the injunction issued in United State v. Idaho,

Justice Jackson rightly noted that a “months-long catastrophe” quickly ensued.

Moyle, 603 U.S. at 338 (Jackson, J., dissenting). As described above, within a few

months’ time, St. Luke’s had to airlift six pregnant women experiencing medical

emergencies to neighboring states where they could receive the full range of

stabilizing care warranted by their conditions. And given that Idaho has

approximately 22,000 births per year, and a large number of high-risk pregnancies

due to surrogacy, these emergency medical conditions likely will continue to occur

for a sizeable number of pregnant patients within Idaho. See Corrigan Dec. ¶¶ 8,


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19, US v. Idaho Dkt. 17-6; Fleisher Dec. ¶¶ 36-38, US v. Idaho Dkt. 17-3.

      Allowing the law to go back into full effect would prevent St. Luke’s

medical providers from providing necessary care in emergency circumstances,

resulting in significant and irreparable harm. And if St. Luke’s is unable to provide

this care, St. Luke’s likely will be directly harmed, including a potential loss of

Medicare funds, the possibility of private lawsuits by patients denied the

stabilizing care mandated by EMTALA, and the potential loss of staff.

      C. The Balance of the Equities and the Public Interest

      The next question is whether the balance of equities tips in the St. Luke’s

favor and whether an injunction is in the public interest. When the government is a

party, these factors merge. See Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073,

1092 (9th Cir. 2020).

      Looking first to the public at large, in the most general sense, “preventing a

violation of the Supremacy Clause serves the public interest.” United States v.

California, 921 F.3d 865, 893-94 (9th Cir. 2019). But the equities also favor St.

Luke’s and the public in a more direct, tangible way. In the absence of an

injunction, St. Luke’s patients will be unable to access EMTALA-mandated

stabilizing care, which, in turn, would likely lead to the patient-dumping EMTALA

was designed to stop and which occurred when this Court’s previous injunction

was stayed.


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        The Attorney General says the equities and public interest favor him because

 Idaho should be able to exercise its powers without “unnecessary interference from

 federal overreach.” Opp., Dkt. 25-1, at 35. He argues the State has an interest in

 protecting unborn children and that “[e]ach day that the Act is enjoined

 undermines the public interest.” Id. He also claims that Idaho’s Defense of Life

 Act is saving lives: “[i]n 2023, the first full year in which Idaho’s [abortion] laws

 were in effect, pregnancy-related deaths dropped by 44.4 % compared to 2021.” Id.

 at 1. The Court has reservations about that reported statistic. 12 But assuming its

 accuracy, the argument ignores the fact that there was a limiting injunction in place

 during the vast majority of 2023.

      It’s also worth repeating that the injunction St. Luke’s requests is a modest

one. Even when the injunction is in place, the Attorney General will be free to




 12
   The Attorney General cites an Idaho MMRC Annual Report to support this statistic. See Opp.,
 Dkt. 25-1, at 1 n.1. Even assuming, arguendo, that the data presented there is methodologically
 sound, there are other possible causes for a decrease in maternal deaths as reported by Idaho’s
 Maternal Mortality Review Committee between 2021 and 2023. As one example, COVID-19
 was responsible for four out of sixteen maternal deaths in 2021, but did not contribute to any of
 the eleven maternal deaths in 2023. Compare IDAHO DEP’T OF HEALTH AND WELFARE,
 MATERNAL MORTALITY REVIEW COMMITTEE ANNUAL REPORT (2021) with IDAHO DIV. OF
 OCCUP. & PRO. LICENSES, MATERNAL MORTALITY REVIEW COMMITTEE ANNUAL REPORT (2023).
 As another example, it is possible that patients chose to seek pregnancy care outside the state
 once Idaho’s Defense of Life Act went into effect. Further, maternal death statistics do not
 capture non-fatal harm experienced by patients, which can be significantly increased by laws like
 Idaho’s Defense of Life Act, as studies in other states with comparable laws have shown. See
 Lizzie Presser et al., Texas Banned Abortion. Then Sepsis Rates Soared., PROPUBLICA (Feb. 20,
 2025), https://www.propublica.org/article/texas-abortion-ban-sepsis-maternal-mortality-analysis
 (finding significant increase in sepsis after enactment of Texas’s abortion ban).

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enforce § 18-622 in almost all its applications. The injunction the Court intends to

enter will apply to the thinnest sliver of pregnant women—those who present to St.

Luke’s with an “emergency medical condition,” where abortion is the necessary

stabilizing care under EMTALA but not “necessary to prevent death.” It is only in

that narrow circumstance that the Attorney General will be prevented from enforcing

Idaho law. Moreover, the Attorney General has asserted that Idaho law would allow

an abortion in these types of situations anyway. The Court does not agree with him

on that point, for reasons detailed above. But if he is correct, the preliminary

injunction would have no practical effect because it would never prevent

enforcement of Idaho’s Defense of Life Act.

        D. The Scope of the Injunction

        The final task is to determine the appropriate scope of the injunction. The

 TRO currently in effect states:

        Specifically, the Attorney General, including his officers, employees,
        and agents, are prohibited from initiating any criminal prosecution
        against, attempting to suspend or revoke the professional license of, or
        seeking to impose any other form of liability on, any medical provider
        or hospital based on their performance of conduct that is defined as an
        “abortion” under Idaho Code § 18-604(1), but that is necessary to
        avoid: (i) “placing the health of” a pregnant patient “in serious
        jeopardy”; (ii) a “serious impairment to bodily functions” of the
        pregnant patient; or (iii) a “serious dysfunction of any bodily organ or
        part” of the pregnant patient, pursuant to 42 U.S.C. §
        1395dd(e)(1)(A)(i)-(iii)

 Dkt. 33, at 4. The TRO is only in effect until the Court issues this decision, so the


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Court is free to change its mind about the scope of the TRO. And, in any event, the

Ninth Circuit has “long recognized ‘the well-established rule that a district judge

always has power to modify or to overturn an interlocutory order or decision while

it remains interlocutory.’” Credit Suisse First Bos. Corp. v. Grunwald, 400 F.3d

1119, 1124 (9th Cir. 2005) (quoting Tanner Motor Livery, Ltd. v. Avis, Inc., 316

F.2d 804, 809 (9th Cir. 1963)).

      The Attorney General says the TRO should be narrowed in two respects.

First, he says it shouldn’t apply to anyone other than St. Luke’s. Second, he says

the Court restrained conduct that falls outside EMTALA’s stabilization mandate.

Put differently, the Attorney General says the TRO applies to too many people and

restrains too much conduct.

             i. The Scope of Conduct

      The Court will begin with the scope of the conduct restrained. The Attorney

General says the restraining order sweeps too broadly because it allows healthcare

providers to ignore Idaho’s Defense of Life Act when “necessary to avoid” an

emergency medical condition, as opposed to when a patient is experiencing an

emergency medical condition, as defined in EMTALA. According to this logic, the

TRO prevents enforcement of Idaho Code § 18-622 before an “emergency medical

condition” exists. St. Luke’s says it does not interpret the existing language as

doing anything more than enjoining § 18-622 to the extent it conflicts with


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EMTALA. Still, though, it is amenable to revising the order to address the

Attorney General’s concerns. St. Luke’s suggests the revision shown here:

      Specifically, the Attorney General, including his officers, employees,
      and agents, are prohibited from initiating any criminal prosecution
      against, attempting to suspend or revoke the professional license of, or
      seeking to impose any other form of liability on, any medical provider
      or hospital based on their performance of conduct that is defined as an
      “abortion” under Idaho Code § 18-604(1), but that is necessary to
      avoid: (i) “placing the health of” a pregnant patient “in serious
      jeopardy”; (ii) a “serious impairment to bodily functions” of the
      pregnant patient; or (iii) a “serious dysfunction of any bodily organ or
      part” of the pregnant patient, pursuant to 42 U.S.C. §
      1395dd(e)(1)(A)(i)-(iii) necessary to “stabilize” a patient presenting
      with an “emergency medical condition” as required by EMTALA
      pursuant to 42 U.S.C. § 1395dd(e)(1)(A), (3)(A).

This revised language continues to capture the intended effect of the injunction,

and the Attorney General has indicated that this revision addresses his concern

regarding the “necessary to avoid” framework. See Reply, Dkt. 43, at 11.

Accordingly, the Court will modify the injunction to incorporate this revision.

             ii. The Universal Injunction

      The next issue is whether the injunction should apply to parties not before

the Court. The TRO the Court entered applied to “any medical provider or

hospital,” yet St. Luke’s is the only plaintiff before the Court. The Attorney

General says such an injunction is erroneous, particularly given the Supreme

Court’s order in Labrador v. Poe ex rel. Poe, 144 S. Ct. 921 (2024), where several

members of the Supreme Court questioned the value of universal injunctions. Id. at


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921–28 (Gorsuch, J., concurring, joined by Thomas, J. and Alito, J.); id. at 928-34

(Kavanaugh, J., concurring, joined by Barrett, J.).

      “The general rule regarding the scope of preliminary injunctive relief is that

it ‘should be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs before the court.’” Regents of the Univ. of

California v. U.S. Dep’t of Homeland Sec., 908 F.3d 476, 511 (9th Cir. 2018),

rev’d in part, vacated in part, 591 U.S. 1 (9th Cir. 2020) (citation omitted). And

“where relief can be structured on an individual basis, it must be narrowly tailored

to remedy the specific harm shown.” City & County of San Francisco v. Trump,

897 F.3d 1225, 1244 (9th Cir. 2018) (quoting Bresgal v. Brock, 843 F.2d 1163,

1170-71 (9th Cir. 1987)). Nonetheless, “broad injunctions are appropriate when

necessary to remedy a plaintiff’s harm.” East Bay Sanctuary Covenant v. Garland,

994 F.3d 962, 986 (9th Cir. 2020). Similarly, “an injunction is not necessarily

made over-broad by extending benefit or protection to persons other than

prevailing parties in the lawsuit—even if it is not a class action—if such breadth is

necessary to give prevailing parties the relief to which they are entitled.” Bresgal,

843 F.2d at 1171-72 (emphasis in original).

      Under this standard, the Court must be mindful that St. Luke’s is the only

plaintiff in this case; no other hospital system or provider has sued. And the

primary harms St. Luke’s alleges to itself include the potential loss of Medicare


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funds, the possibility of private lawsuits by patients denied the stabilizing care

mandated by EMTALA, and the potential loss of staff (from criminal convictions

and licensure penalties) that would hamper St. Luke’s ability to care for its

patients. See St. Luke’s Consolidated Opp. & Reply, Dkt. 27, at 2 n.3; Compl., Dkt.

1, ¶ 13, 44, 47. The Court finds that an injunction limited to St. Luke’s and its

medical providers will suffice to address these alleged harms.

      Granted, St. Luke’s does not exist in vacuum, and it suggests it would not

have the capacity to accept transfers from other Idaho hospital systems, which, in

turn, would impact its ability to appropriately care for its patients. See Response,

Dkt. 39, at 3; Seyb Supp. Dec. ¶ 24, Dkt. 2-2. In other words, St. Luke’s says this is

a systemic problem that justifies statewide relief. St. Luke’s also says that if the

injunction is narrowed to cover only St. Luke’s, this would create “difficult

administrability issues” because providers would be subject to different rules at

different hospitals. Response, Dkt. 39, at 6. The problem, however, is that the

Court must focus on the harm St. Luke’s alleges to itself, and what sort of

injunction would remedy that harm. And the potential additional strain on St.

Luke’s resources, as well as the stated “administrability issues,” are—relatively

speaking—small and indirect harms. Thus, in keeping with the requirement that an

injunction be narrowly tailored to remedy the specific harm shown, the Court will

modify the restraining order. That said, the Court will not limit the injunction only


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to St. Luke’s; it will include St. Luke’s medical providers as well. Although these

medical providers are not before the Court, a broader injunction is nonetheless

necessary. To redress the harms St. Luke’s alleges to itself, St. Luke’s medical

providers must have the ability to provide EMTALA-mandated stabilizing care.

             iii. St. Luke’s “Concessions”

      Finally, the Attorney General says the restraining order must be modified

such that it explicitly accounts for “St. Luke’s concessions, which were in line with

the concessions of the United States Solicitor General.” Motion, Dkt. 34, at 5

(citing Dkt. 2-1 at 17–18). This issue received very little attention in the briefing.

The Attorney General included a single sentence in his motion, which just directed

the Court to St. Luke’s brief. The cited portion of the brief, in turn, discussed

statements the Solicitor General made during oral argument in United States v.

Idaho. These statements relate to mental health emergencies, post-viability

abortions, conscience protections, and the fact that EMTALA requires treatment

only when a medical situation is acute. The cited portion of St. Luke’s brief states:

      The United States did not make any representations before the
      Supreme Court that were not already true about EMTALA’s scope. It
      explained that: (1) EMTALA does not require pregnancy termination
      as stabilizing care to treat mental health conditions, (2) EMTALA
      does not require abortion after viability since post-viability, the
      pregnancy can terminate through delivery; (3) EMTALA requires
      treatment only when a medical situation is acute; and (4) EMTALA
      does not override conscience protections. But these points were
      always true about EMTALA; the EMTALA this Court confronts
      today is unchanged and its injunction’s scope remains correct.

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Dkt. 2-1, at 17 (internal citations omitted).

      The Court does not find it necessary to modify the injunction to specifically

address these four issues because nothing in the language of the existing TRO

conflicts with any of the above statements. Nor does the Court find it necessary to

add clarifying language. The Court notes that the Supreme Court was content to

vacate its stay of a substantially identical injunction in United States v. Idaho

without modification. That said, if the parties stipulate to additional language

addressing these issues, the Court will consider it. But absent such a stipulation,

the Court will deny the request related to these four issues.

      E. Bond Requirement

      The Court will waive the bond requirement, finding that a bond under Rule

65 is unnecessary.

                                       ORDER

      1. Defendant’s Motion to Dismiss (Dkt. 25) is DENIED.

      2. Plaintiff’s Motion for a Preliminary Injunction (Dkt. 2) and Defendant’s

Motion to Modify the Universal TRO (Dkt. 34) are GRANTED IN PART and

DENIED in part, in that the Court will enter the following preliminary injunction:

      3. The Court orders that Attorney General Raúl Labrador—and his officers,

employees, and agents—are preliminarily enjoined from enforcing Idaho Code §

18-622 against St. Luke’s or any of its medical providers as applied to medical care

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required by the Emergency Medical Treatment and Labor Act (EMTALA), 42

U.S.C. § 1395dd. Specifically, the Attorney General, including his officers,

employees, and agents, are prohibited from initiating any criminal prosecution

against, attempting to suspend or revoke the professional license of, or seeking to

impose any other form of liability on, St. Luke’s or any of its medical providers

based on their performance of conduct that is defined as an “abortion” under Idaho

Code § 18-604(1), but that is necessary to “stabilize” a patient presenting with an

“emergency medical condition” as required by EMTALA pursuant to 42 U.S.C. §

1395dd(e)(1)(A), (3)(A).

      4. This preliminary injunction is effective immediately and shall remain in

full force and effect through the date on which judgment is entered in this case.

                                             DATED: March 20, 2025


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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